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           Exhibit 1
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                                                 EFiled: Nov 20 2023 03:02PM EST
                                                 Transaction ID 71453159
                                                 Case No. 2023-1152-JTL
   IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

   MARIANO SISELES and ZALMON
   UVAYDOV,

                      Plaintiffs,
                                               C.A. No. 2023-1152-JTL
         v.

   HOWARD LUTNICK, ANSHU JAIN,                  PUBLIC VERSION
   PAUL PION, ROBERT HOCHBERG,
   CHARLOTTE BLECHMAN, ALICE                    Filed November 20, 2023
   CHAN, CF FINANCE HOLDINGS II
   LLC, CANTOR FITZGERALD L.P.,
   and CANTOR FITZGERALD & CO.,

                      Defendants.


                  VERIFIED CLASS ACTION COMPLAINT

      Plaintiffs Mariano Siseles and Zalmon Uvaydov (“Plaintiffs”), on behalf of

themselves and similarly situated current and former stockholders of CF Finance

Acquisition Corp. II (“CF II”), bring this Verified Class Action Complaint asserting:

(i) breach of fiduciary duty claims arising from CF II’s March 8, 2021 merger (the

“Merger”) with legacy View, Inc. (“Legacy View”) against: (a) Howard Lutnick

(“Lutnick”), Anshu Jain (“Jain”), Paul Pion (“Pion”), Robert Hochberg

(“Hochberg”), Charlotte Blechman (“Blechman”), and Alice Chan (“Chan”) in their

capacities as members of CF II’s Board of Directors (the “Board” or the “Director

Defendants”); (b) Lutnick, CF II’s Chief Executive Officer (“CEO”) and Board

Chairman; Jain, CF II’s President; Pion, CF II’s Chief Financial Officer (“CFO”)
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from September 2019 to January 2021; and Chan, CF II’s CFO from January 2021

through the close of the Merger, in their capacities as CF II officers (together, the

“Officer Defendants”); (c) CF Finance Holdings II, LLC (the “Sponsor”) and

Lutnick, in their capacities as CF II’s controllers (together, the “Controller

Defendants” and, together with the Director Defendants and the Officer Defendants,

the “CF II Defendants”); (ii) aiding and abetting breach of fiduciary duty claims

against Cantor Fitzgerald L.P. (“Cantor”) and Cantor Fitzgerald & Co. (“CF&Co”)

(together, the “Aiding and Abetting Defendants”); and (iii) unjust enrichment claims

against all Defendants.

      These allegations are based on Plaintiffs’ knowledge as to themselves and

their own actions, and on information and belief, including counsel’s investigation

and review of publicly available information and review of the documents produced

in response to Plaintiffs’ demands for inspection of books and records under 8 Del.

C. §220 (the “220 Documents”), as to all other matters.

                           NATURE OF THE ACTION

      1.     CF II, now renamed View, Inc. (“New View”), is a Delaware

corporation that was formed as a special purpose acquisition company (“SPAC”) by

the Controller Defendants. The Controller Defendants took CF II public. A SPAC,

also known as a “blank check company,” is a publicly traded company without

commercial operations that is formed strictly to raise capital through an initial public

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offering (“IPO”) for the purpose of entering into a business combination with

another company within a specified period of time. The proceeds of the SPAC’s

IPO are held in trust for the benefit of public stockholders. When the SPAC agrees

to a business combination, the SPAC’s public stockholders are presented with a

decision: they can elect to redeem all or a portion of their shares—and receive a

proportionate share of the funds held in trust—or they can invest those funds in the

post-combination company. If a SPAC does not close a business combination within

the time specified in its charter, it is required to liquidate, in which circumstances

public stockholders would receive a proportionate share of the liquidating

distributions from the trust.

      2.     CF II’s history is part of a disturbing trend of SPAC transactions in

which sponsors and insiders have placed their financial interests ahead of the

interests of the SPAC’s public stockholders, despite being legally bound to do the

opposite. Instead, the CF II Defendants, aided and abetted by each other and the

Aiding and Abetting Defendants, granted themselves significant financial interests

in CF II that diverged from the interests of CF II’s public stockholders and that were

contingent on CF II entering into an “initial business combination” within the time

specified by CF II’s Charter.

      3.     Defendants had a powerful incentive to cause CF II to enter into any

business combination and avoid a liquidation. Prior to the IPO, the Controller
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Defendants purchased 11,500,000 “Founder Shares”—shares of CF II Class B

common stock—for a total of $25,000, or $0.002 per share.             The Controller

Defendants thereafter quickly transferred 30,000 Founder Shares to the Director

Defendants, aligning their interests with those of the Controller Defendants.

Following a sequence of stock splits and an IPO-related forfeiture of Founder

Shares, at the time of the Merger, Defendants collectively held 12,500,000 Founder

Shares.

      4.     In addition, concurrently with the IPO, the Sponsor purchased

1,100,000 private placement units (the “Private Placement Units”) at a price of $10

per unit, for a total for $11 million. Each Private Placement Unit consisted of one

share of Class A common stock (the “Private Placement Shares”), and one-third of

one warrant (the “Private Placement Warrants”).1

      5.     The CF II Defendants waived their liquidation and redemption rights

with respect to all their Founder Shares and the Private Placement Shares. As a

result, unlike the shares held by CF II’s public stockholders, the shares that the CF

II Defendants held would only have value if CF II closed a business combination.

Similarly, the Private Placement Warrants would only be exercisable 30 days after




1
  Each whole Private Placement Warrant was exercisable for one share of Class A common
stock at a price of $11.50 per share.
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a business combination was completed. They, too, therefore, would have value only

if CF II closed a business combination.

      6.    CF II’s structure created an inherent conflict of interest between the

Defendants and the public stockholders. If CF II succeeded in consummating a

business combination, the CF II Defendants would hold shares and warrants in the

combined company. But if CF II liquidated, the CF II Defendants’ Founder Shares,

Private Placement Shares, and Private Placement Warrants would be worthless—

and the Sponsor would lose its entire investment. Thus, these insiders’ interests in

getting any deal done—even a value-destructive one—to avoid liquidation provided

them with a perverse incentive to complete a merger regardless of whether it was in

the best interests of the Company’s public stockholders.        Furthermore, since

Defendants would continue to hold their shares and warrants after any business

combination, they had an interest in discouraging public stockholders from

redeeming their shares, as each share redeemed would decrease the amount of cash

available to the post-Merger company in which they would own equity.

      7.    Armed with these conflicting incentives, the Board approved the

Merger and took steps to ensure its approval by disseminating a false and misleading

proxy statement/prospectus (the “Proxy”), which omitted material information, to

induce the stockholder vote in favor of the Merger and to deter CF II’s public

stockholders from exercising their redemption rights.        The Proxy contained
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materially false and misleading representations about Legacy View’s value and

prospects, including financial projections disclosed in the Proxy (the “Proxy

Projections”). Specifically, the Proxy stated that the New View Class A common

stock that CF II common stock would be converted to post-Merger would be deemed

to have a value of $10.00 per share: “Upon the consummation of the Business

Combination, all holders of View Capital Stock, View Warrants, and View Options

will receive or have the right to receive shares of the Combined Entity Class A

Common Stock at a deemed value of $10.00 per share.” This statement was false

and misleading based on the actual post-close value of New View Class A Common

Stock.

         8.   Among other reasons, the Proxy Projections were unreliable because

they materially understated warranty liability that Legacy View faced due to a defect

in a substantial amount of the “smart” windows that it installed. Further, the Proxy

omitted: (i) certain “Key Transaction Considerations” that had been disclosed to the

Board and undermined the Proxy Projections; (ii) that the Proxy Projections assumed

$723.6 million in total capital expenditures, which contradicted other statements in

the Proxy indicating that Legacy View was only projecting $160 million in capital

expenditures; (iii) that Legacy View would have to pay off an approximately $277

million loan if cash provided in the Merger was above a specified threshold; and (iv)

that Legacy View’s $560 million product pipeline—its so-called “Design-Win
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Backlog”—was comprised almost entirely “non-contractual design wins” that were

only “expected”—based on unspecified factors—to be converted into revenue.

      9.    On March 5, 2021, CF II’s public stockholders approved the Merger

during a special meeting. Burdened with the materially false and misleading Proxy,

investors redeemed only 25% of CF II shares. On March 8, 2021, the Merger closed.

      10.   Soon after Merger closed, the truth about CF II began to emerge:

           On June 1, 2021, Jehoshaphat Research published a Short Report on
            New View titled “Driving Investors Through the Glass…Again”
            (the “Jehoshaphat Report”) highlighting numerous negative aspects
            of New View, including: (1) the fact that its products cost four times
            more to manufacture than they sold for; (2) that Legacy View had
            burned through $900 million in cash over the prior three years and
            would need to spend an additional $660 million to meet Proxy
            Projection revenue; (3) the false and misleading statements in the
            Investor Presentation about Legacy View’s Design-Win Backlog;
            and (4) Cantor’s and Lutnick’s conflicts of interest. The
            Jehoshaphat Report concluded that New View “stock is intrinsically
            worthless because the company has no path to profitability, the
            product is a solution in search of a problem, and the business
            consumes capital like a sinkhole.”

           The day that the Jehoshaphat Report was published, New View’s
            stock dropped down to $7.75 per share.

           On August 17, 2021, New View faced a delisting from the Nasdaq
            Stock Market LLC (“Nasdaq”) due to the fact that its previously
            disclosed warranty accrual statement was incorrect and would
            require an internal investigation. That internal investigation resulted
            in New View restating its financials for the 2019 and 2020 fiscal
            years and for the first and second quarters of the 2021 fiscal year.
            New View would have to restate its warranty accrual as of March
            31, 2021, to an amount in the range of $40 million to $58 million,
            and to an amount in the range of $46 million to $70 million as of

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     December 31, 2019, and to an amount in the range of $38 million to
     $55 million as of December 31, 2020.

    In connection with this investigation, New View’s CFO, Vidul
     Prakash (“Prakash”), was forced to step down. The U.S. Securities
     and Exchange Commission (“SEC”) began an investigation into
     New View and Prakash for potential fraud in connection with the
     warranty accrual restatements.

    On November 9, 2021, New View lowered its revenue guidance for
     2021 down to a range of $65 million to $70 million, $5–$10 million
     less than the 2021 estimated revenue in the Proxy Projections.

    On May 10, 2022, New View disclosed that it had “substantial doubt
     about the Company’s ability to continue as a going concern, as the
     Company does not currently have adequate financial resources to
     fund its forecasted operating costs and meet its obligations for at
     least twelve months from the expected issuance date of its 2021
     Annual Report on Form 10-K.”

    On May 31, 2022, New View announced full year 2022 revenue
     guidance of $100 million to $110 million—materially lower than the
     $216 million 2022 revenue guidance in the Proxy Projections. New
     View also reported that it had completed a $200 million financing
     through the sale of convertible senior notes, which would further
     dilute stockholder ownership of New View stock.

    As the truth about New View emerged over time, its stock price
     plummeted, falling to well below $1 per share. On February 16,
     2023, New View disclosed that it had been threatened with a
     delisting from Nasdaq because its stock had failed to trade above $1
     for 30 consecutive days. New View had 180 days to buoy its stock
     above $1 per share for a minimum of 10 consecutive business days.
     After trading at a high of $9.76 per share on June 9, 2021, New View
     stock dropped below $1 per share on December 28, 2022, and traded
     down to $0.67 per share on February 16, 2023.

    On March 29, 2023, New View announced full year 2022 actual
     revenue of $101 million, less than half of the $216 million revenue


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            for 2022 contained in the Proxy Projections. New View stock traded
            at $0.56 per share on this date.

           On May 9, 2023, New View announced full year 2023 revenue
            guidance of $125 million to $150 million, only 26.5% to 32% of the
            $470 million revenue for 2023 contained in the Proxy Projections.
            New View stock traded at $0.26 per share on this date.

           On July 3, 2023, the SEC announced that it had settled charges with
            View relating to its restatement of warranty accrual. On the same
            day, the SEC announced that it was charging Prakash with financial
            reporting and accounting fraud. The SEC asserted that Prakash
            knew that the warranty liabilities Legacy View disclosed in the
            Proxy did not include the costs of installation of the replacement
            products, even though Legacy View had decided it would cover all
            such installation costs. New View stock traded at $0.13 per share
            on this date.

           On July 26, 2023, New View announced a 60-for-1 reverse stock
            split in order to avoid Nasdaq delisting.

           Since the Merger, View’s stock price has collapsed from at a high
            of $9.76 per share on June 9, 2021, down to $2.92 per share on
            November 1, 2023 (the functional equivalent of $0.05 per share but
            for the reverse stock split).

      11.   No director, officer, or controlling stockholder fulfilling its fiduciary

duties to stockholders would have entered into the Merger with Legacy View, let

alone recommended that the Merger was in the best interests of CF II’s public

stockholders. Defendants did.

      12.   CF II’s deeply conflicted directors and officers breached their duties of

loyalty and candor by entering into an unfair Merger and impairing public

stockholders’ redemption rights by providing materially false and misleading


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information in the Proxy and omitting from the Proxy information that was highly

material to public stockholders’ decision whether to redeem their shares or invest in

the Merger. Defendants did this to promote their own self-interest in seeing

redemptions minimized and the Merger consummated to secure their windfall from

their Founder Shares and Private Placement Warrants.

      13.      Although an abysmal deal for CF II public stockholders, the Merger

provided a financial windfall to the CF II Defendants. On the day the Merger closed,

March 8, 2021, the Founder Shares alone were worth $114,875,000—a return on

their initial investment of over 459,500%.

      14.      Due to Defendants’ conflicts of interest, the Merger requires judicial

review for entire fairness. The Merger cannot meet the exacting entire fairness test.

Plaintiffs seek monetary and/or rescissory damages against Defendants for their

various breaches of fiduciary duty owed to CF II’s public stockholders and/or aiding

and abetting thereof.

                                      PARTIES

      15.      Plaintiff Mariano Siseles acquired CF II shares on March 3, 2021, held

CF II shares at the time of the Merger, and is a current New View stockholder.

      16.      Plaintiff Zalmon Uvaydov acquired CF II shares on December 23,

2020, held CF II shares at the time of the Merger, and is a current New View

stockholder.

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      17.   Defendant Sponsor was founded on September 27, 2019, and is based

in New York. The Sponsor is directly owned by Cantor, which is directly controlled

by Lutnick. At the time of the Merger, the Sponsor beneficially held 12,470,000

Founder Shares and 1,100,000 Private Placement Shares. As of February 11, 2021,

the record date in the Proxy, the Sponsor’s Founder Shares were worth $136.5

million, and its Private Placement Units were worth $12,826,000.

      18.   Defendant Lutnick was the Chairman and CEO of CF II from

September 2019 to the close of the Merger. Lutnick controlled the Sponsor through

his control of CF Group Management, Inc. (“CFGM”), the managing partner of

Cantor, which was the Sponsor’s managing member.           Lutnick also controls

Newmark & Company Real Estate, Inc. (“Newmark”). Lutnick was the Chairman

and CEO of CF Finance Acquisition Corp. (“CF I”) from October 2015 to November

2020. Lutnick was the Chairman and CEO of CF Finance Acquisition Corp. III (“CF

III”) from March 2016 to August 2021. Lutnick has served as the Chairman and

CEO of CF Acquisition Corp. IV (“CF IV”) since January 2020. Lutnick was the

Chairman and CEO of CF Acquisition Corp. V (“CF V”) from April 2020 to January

2022. Lutnick was the Chairman and CEO of CF Acquisition Corp. VI (“CF VI”)

from April 2020 to September 2022. Lutnick has served as the Chairman and CEO

of CF Acquisition Corp. VII (“CF VII”) since July 2020. Lutnick has served as the

Chairman and CEO of CF Acquisition Corp. VIII (“CF VIII”) since July 2020. At
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the time of the Merger, Lutnick beneficially held 12,470,000 Founder Shares and

1,100,000 Private Placement Shares. As of February 11, 2021, the record date in the

Proxy, Lutnick’s Founder Shares were worth $136.5 million, and his Private

Placement Units were worth $12,826,000.

      19.   Defendant Jain was President of CF II from September 2019 to March

2021 and a director of CF II from August 2020 to March 2021. Jain also served as

the President of Cantor from January 2017 to August 2022. Jain held similar

positions with each of the CF SPACs. Jain was the President of CF I from January

2018 to November 2020 and a director from December 2018 to November 2020.

Jain was President of CF III from March 2020 to August 2021 and a director from

November 2020 to August 2021. Jain was President of CF IV from September 2020

through August 2022 and a director from December 2020 to August 2022. Jain was

President of CF V from September 2020 through January 2022 and a director from

January 2021 through January 2022. Jain was President of CF VI from October 202

to August 2022 and a director from February 2021 to August 2022. Jain was

President of CF VII from January 2021 to August 2022 and a director from

December 2021 to August 2022. Jain was President of CF VIII from January 2021

to August 2022 and a director from March 2021 to August 2022.

      20.   Defendant Pion served as the CFO of CF II from September 2019 to

January 2021, and a director of CF II from August 2020 to January 2021. Pion held
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similar positions at other members of the CF family of SPACs. Pion was the CFO

at CF I from January 2020 to November 2020 and director from June 2020 to

November 2020. Pion was the CFO at CF III from March 2020 to January 2021 and

director from November 2020 to January 2021. Pion was the CFO at CF IV from

January 2020 to January 2021 and director from December 2020 to January 2021.

Pion has held other high-level roles at companies affiliated with Cantor.

Specifically, Pion has been the U.S. Chief Administrative Officer and Senior

Managing Director of CF&Co. Additionally, Pion serves as the CEO of Tower

Bridge International Services LP, responsible for the back-office functions for all

Cantor UK-based businesses.

      21.    Defendant Hochberg was a director at CF II from August 2020 to

March 2021. Hochberg was gifted 20,000 Founder Shares by the Sponsor, worth

$219,000 as of February 11, 2021, the record date in the Proxy. Hochberg also

served as a director of Rodin Income Trust, Inc. (“Rodin”), a publicly registered non-

traded real estate investment trust (“REIT”) that was sponsored by Cantor, from

March 2018 to March 2021. Lutnick served as the Chairman and CEO of Rodin

from February 2017 to December 2022, and President of Rodin from January 2018

to December 2022. Rodin has since assigned all of its assets to a Cantor affiliated

fund and dissolved. Hochberg has served as a director at other members of the CF

family of SPACs. Hochberg served as a director of CF I from January 2020 to
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November 2020. Hochberg served as a director of CF III from November 2020 to

August 2021, where Hochberg was given 20,000 CF III founder shares. Hochberg

has served as a director of CF VIII since March 2021, where Hochberg was given

11,000 CFV VIII founder shares.

      22.    Defendant Blechman was a director at CF II from November 2020 to

March 2021. Blechman was given 10,000 Founder Shares by the Sponsor, worth

$109,500 as February 11, 2021, the record date in the Proxy. Blechman was also

paid an additional $100,000 in cash as of March 9, 2021, for her position as director.2

Blechman has served as a director at other members of the CF family of SPACs.

Blechman has served as a director of CF IV since December 2020, where she was

given 16,875 founder shares. Blechman has also served as a director of CF VIII

since March 2021, where she was given 11,000 founder shares.

      23.    Defendant Chan served as the CFO and as a director of CF II from

January 2021 to March 2021. Chan served as the Global Controller and as a

Managing Director at Cantor from 2015 until July 2021. Chan took over as the CFO

for the CF family of SPACs beginning in January 2021. Chan was the CFO and a

director of CF III from January 2021 to July 2021. Chan was the CFO and a director

of CF IV from January 2021 to July 2021. Chan was the CFO and a director of CF


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 G&E-VIEW-00056653. All references to “G&E-VIEW-_______” are from the 220
Documents produced in response to Plaintiffs’ inspection demands.
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V from January 2021 to July 2021. Chan was the CFO and a director of CF VI from

January 2021 to July 2021. Chan was the CFO and a director of CF VII from January

2021 to July 2021. Chan was the CFO and a director of CF VIII from January 2021

to July 2021.

      24.    Defendant Cantor is a Delaware limited partnership with its principal

offices at 135 East 57th Street, New York, New York. Cantor is the Sponsor’s sole

managing member. Cantor is also the managing member of the sponsors for each of

the additional related SPACs within the CF family. Lutnick is the Chairman and

CEO of Cantor, and the controller of Cantor. Cantor owns and controls CF&Co and

Newmark. Cantor entered into a financing assistance contract with Legacy View,

pursuant to which Cantor intended to establish one or more financing entities

together with Legacy View to support the purchase and sale of View’s products and

services, and such financing entities would have the right to purchase View’s

products at a discount to the then actual selling price for comparably featured orders.

      25.    Defendant CF&Co operates an investment bank and brokerage

company. It is organized as a New York general partnership and its managing

general partner is a majority owned subsidiary of Cantor. CF&Co is an affiliate of

the Sponsor and is owned and controlled by Cantor. According to a unanimous

written consent by the CF II Audit Committee on October 3, 2020, Lutnick, Jain,



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and Pion are each affiliated with CF&Co.3 This same written consent approved

engagement of CF&Co for numerous financially lucrative actions that rendered

Lutick, Jain, and Pion to be “Interested Parties” in connection with these

engagements. CF&Co was the underwriter for the IPO and was paid $10 million in

underwriting discounts. In addition to underwriting fees, CF&Co was also retained

as financial advisor “to perform customary services for CF II” in connection with

the Merger, for which it received an additional fee equivalent to $7.5 million

(originally the fee was to be paid in cash, but later CF&Co agreed to be paid 750,000

shares of CF II Class A common in lieu of cash) that would only be paid upon the

consummation of a business transaction. CF&Co was engaged to hold investor

meetings and “assist CF II in obtaining stockholder approval for [the Merger] and

assist CF II with its press releases and public filings in connection with” the Merger.

CF&Co’s total promised fee for these services was, according to the Proxy,

equivalent to $17.5 million, contingent on consummation of the Merger. CF&Co

was also engaged as a co-lead placement agent for a private investment in public

equity (“PIPE”) investment in connection with the Merger for a placement fee equal

to 1.5% of the gross proceeds of any sale of securities of CF II, amounting to an




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additional $4.5 million. As the PIPE was conditional on the consummation of the

Merger, so, too, was this additional $4.5 million fee.

                          RELEVANT NON-PARTIES

      26.    New View is a Delaware corporation with principal executive offices

at 195 South Milpitas Boulevard, Milpitas, California. New View produces and sells

“smart” products designed to reduce energy consumption while improving the health

and productivity of occupants. On November 30, 2020, Legacy View entered into a

business combination agreement with CF II. Legacy View completed the business

combination with CF II on March 8, 2021, and continues to operate as New View.

      27.    Newmark is an affiliate of the Sponsor and is owned and controlled by

Cantor and Lutnick. Legacy View appointed Newmark as its exclusive provider of

real estate services and commissioned house agent for referrals of sales of New View

products or services installed in buildings in North America (other than certain

verticals and customers, and subject to certain other exceptions), and Newmark

would be entitled to commissions in respect of such sales and will also receive

commissions on its referrals that are no less than the commissions granted to other

referring parties.

      28.    CFGM is a New York corporation, and the managing general partner

of Cantor. Lutnick is the Chairman and CEO of CFGM and the trustee of CFGM’s

sole stockholder.

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                       SUBSTANTIVE ALLEGATIONS

      A.    THE CONTROLLER DEFENDANTS FORMED CF II

      29.   On September 27, 2019, the Controller Defendants incorporated CF II

in Delaware as a SPAC for the purpose of effecting a merger, capital stock exchange,

asset acquisition, stock purchase, reorganization or similar business combination

with one or more businesses. CF II was controlled by the Sponsor, which was, in

turn, controlled by Cantor and Lutnick. The Sponsor and Lutnick selected and

placed each director on the Board and selected and appointed each CF II officer.

      30.   In September 2019, the Sponsor purchased 11,500,000 Founder Shares

for $25,000, or approximately $0.002 per share. The Sponsor transferred 30,000

Founder Shares to CF II’s “independent” directors—at no cost—on February 11,

2021: 20,000 Founder Shares to Hochberg and 10,000 Founder Shares to Blechman.

      31.   On August 31, 2020, CF II went public through an IPO, in which it sold

50,000,000 units to public investors at $10 per public unit (“Public Unit”). Each

Public Unit consisted of one share of Class A common stock (“Public Share”) and

one-third of one whole warrant (“Public Warrant”). Each Public Warrant was

exercisable in exchange for one share of Class A common stock at an exercise price

of $11.50. Each Public Share came with a redemption right that allowed those Public

Shares to be redeemed at $10 per share plus any accrued interest from the trust held

for the public stockholders’ benefit in the event of a request to extend CF II’s

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liquidation deadline or a vote on a business combination.          Even if public

stockholders redeemed their Public Shares, they would be permitted to retain their

Public Warrants. In the event of a liquidation, public stockholders were entitled to

receive the same $10 per share plus interest from the trust. Following the IPO, the

Founder Shares held by the Sponsor and the Director Defendants comprised 20% of

the outstanding equity of CF II.

      32.    Simultaneously with the consummation of CF II’s IPO, the Sponsor

purchased 1,100,000 Private Placement Units at a price of $10 per unit, generating

proceeds of approximately $11 million. Each Private Placement Warrant was

eligible to purchase one share of Class A common stock at $11.50 per share only if

a business combination closed.

      33.    Following a stock split and the forfeiture of certain Founder Shares in

connection with the IPO, the Sponsor and Lutnick owned 12,470,000 Founder

Shares at time of the Merger. Hochberg continued to hold 20,000 Founder Shares

and Blechman continued to hold 10,000 Founder Shares. At the time of the Merger,

the following table in the Proxy set forth ownership of Founder Shares and Private

Placement Shares:




                                        19
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      34.    The Founder Shares and Private Placement Shares would be worthless

absent a business combination, as they were not entitled to any distributions from

the trust in the event of a liquidation. The Private Placement Warrants would also

be worthless absent a business combination, because they were not exercisable until

30 days after the close of such a transaction. Thus, each of the Defendants and their

affiliated entities was heavily incentivized to get any deal done even if it was a bad

deal for CF II’s public stockholders.

      35.    Pursuant to its Charter, CF II had until August 31, 2022, to close a

business combination. In the alternative, CF II could seek stockholder approval for

an extension of the time period in which it could consummate a transaction, but in

such circumstances, it would have to give public stockholders the option to redeem

their shares at $10 per share plus interest.




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       B.     SERIAL SPAC FOUNDER LUTNICK PACKS THE BOARD WITH
              LOYALISTS AND ENSURES THAT THEIR FINANCIAL INTERESTS ARE
              ALIGNED WITH HIS OWN

       36.    Lutnick joined Cantor in 1983 and has served as the President and CEO

of Cantor since 1991, and as Chairman since 1996. During the SPAC boom in the

late 2010s to 2021, Cantor was heavily involved in underwriting SPACs as a lead

left book-runner, sole book-runner, and PIPE agent.

       37.    In 2018, Lutnick created the first SPAC in the CF family of SPACs.

CF II was one of the eight SPACs in the CF family of SPACs. In addition to CF II,

four other SPACs in the CF family completed their de-SPAC transactions: (i) CF I

completed its business combination with Grosvenor Holdings, L.L.C. on November

18, 2020, and now operates as GCM Grosvenor, Inc.; (ii) CF III completed its

business combination with AEye, Inc., on August 16, 2021, and now operates as

AEye, Inc.; (iii) CF V completed its business combination with Nettar Group Inc.

(d/b/a Satellogic), on January 25, 2022, and now operates as Satellogic, Inc.; and

(iv) CF VI completed its business combination with Rumble, Inc., on September 15,

2022, and now operates as Rumble, Inc. These entities all trade at a substantial

discount to the $10 per share their respective CF SPAC investors could have

redeemed for and thus each was a losing proposition for the CF SPAC investors.4


4
  As of November 1, 2023, GCM Grosvenor, Inc. trades at $8.17 per share; AEye, Inc.
trades at $0.18 per share; Satellogic, Inc. trades at $0.81; and Rumble, Inc. trades at $4.61.
                                             21
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         38.      Lutnick controlled each SPAC in the CF family: a Cantor affiliate is

the sole sponsor of each SPAC within the CF family, CFGM is Cantor’s general

managing partner, and Lutnick is the trustee of CFGM’s sole stockholder.

Additionally, Lutnick appointed himself the Chairman and CEO of each of the

SPACs in the CF family of SPACs.

         39.      In addition to his own Board seat, Lutnick appointed Jain, Chan,

Hochberg, Pion, and Blechman to CF II’s Board. Each of these individuals was a

repeat recipient of Lutnick’s largesse, as he placed each of them in several lucrative

positions, as follows:

                Lutnick appointed Jain as the President of Cantor and as the President
                 and a director of each of CF I, CF II, CF III, CF IV, CF V, CF VI, CF
                 VII, and CF VIII.

                Lutnick appointed Chan as the Global Controller and a Managing
                 Director at Cantor, and as the CFO and a director of each of CF II, CF
                 III, CF IV, CF V, CF VI, CF VII, and CF VIII.

                Lutnick appointed Hochberg to the boards of various entities, including
                 the boards of CF I, CF II, CF III, and CF VIII, and Rodin, a publicly
                 registered non-traded REIT sponsored by Cantor and of which Lutnick
                 was CEO.5

                Lutnick appointed Pion to serve as the CFO and a director of CF I, CF
                 II, CF III, and CF IV.

                Lutnick appointed Blechman to serve on the boards of CF II, CF IV,
                 and CF VIII.



5
    Rodin has since assigned all of its assets to Cantor and has dissolved.
                                               22
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              40.   Lutnick, Jain, Chan, Hochberg, Pion, and Blechman have worked

    extensively together, including on a number of SPACs, as shown by the following

    table:

    SPACs            Lutnick         Jain          Chan          Pion         Hochberg    Blechman

Cantor              - CEO and    - President    - Global
Fitzgerald,         Chairman     (January       Controller
L.P.                (1996 -      2017 -         and
                    Present)     August         Managing
                                 2022)          Director
                                                (March
                                                2015 -
                                                Unknown)

CF Finance          - CEO and    - President                  - CFO          - Director
Acquisition         Chairman     (January                     (January       (January
Corp.               (October     2018 -                       2020 to        2020 -
                    2015 -       November                     November       November
                    November     2020)                        2020)          2020)
                    2020)        Director                     Director
                                 (December                    (June 2020 -
                                 2018 -                       November
                                 November                     2020)
                                 2020)

CF Finance          - CEO and     - President   - CFO &       - CFO          - Director   - Director
Acquisition         Chairman     (September     Director      (2019 -        (August      (November
Corp. II (View,     (September   2019 -         January       January        2020 -       2020 -
Inc.)               2019 -       March          2021 - July   2021)          March        March 2021
                    March        2021)          2021)         Director       2021)
                    2021)        Director                     (August
                                 (August                      2020 to
                                 2020 -                       January
                                 March                        2021)
                                 2021)

CF Finance          - CEO and    - President    - CFO &       - CFO          - Director
Acquisition         Chairman     (March         Director      (March         (November
Corp. III           (March       2020 -         January       2020 -         2020 -
(AEye, Inc.)        2016 -       August         2021 - July   January        Ausust
                                 2021)          2021)         2021)          2021)
                                 Director                     Director

                                                   23
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   SPACs           Lutnick          Jain          Chan           Pion     Hochberg   Blechman

                 August         (November                     (November
                 2021)          2020 -                        2020 -
                                August                        January
                                2021)                         2021)

CF Acquisition   - CEO and       - President   - CFO &        - CFO                  - Director
Corp. IV         Chairman       (September     Director (At   (January               (December
                 (January       2020 -         least March    2020 -                 2020 –
                 2020 -         August         2021 - July    January                Present)
                 Present)       2022)          2021)          2021)
                                Director                      Director
                                (December                     (December
                                2020 -                        2020 -
                                August                        January
                                2022)                         2021)

CF Acquisition   - CEO and      - President    - CFO &
Corp. V          Chairman       (September     Director
                 (April 2020    2020 -         January
                 - Present)     January        2021 - July
                                2022)          2021)
                                Director
                                (January
                                2021 -
                                January
                                2022)

CF Acquisition   - CEO and      - President    - CFO &
Corp. VI         Chairman       (October       Director (At
(Rumble, Inc.)   (April 2020    2020 -         least
                 - Present)     August         February
                                2022)          2021 - July
                                Director       2021)
                                (February
                                2021 -
                                August
                                2022)

CF Acquisition   - CEO and      - President    - CFO
Corp. VII        Chairman       (January       (January
                 (July 2020 -   2021 -         2021 - at
                 Present)       August         least March
                                2022)          2021)
                                Director       Director

                                                  24
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   SPACs           Lutnick          Jain         Chan       Pion    Hochberg     Blechman

                                (December     Nominee
                                2021 -        (At least
                                August        January
                                2022)         2021 - at
                                              least March
                                              2021)

CF Acquisition   - CEO and      - President   - CFO                - Director   - Director
Corp. VIII       Chairman       (January      (January             (March       (March
                 (July 2020 -   2021 -        2021 - July          2021 -       2021 -
                 Present)       August        2021)                Present)     Present)
                                2022)         Director
                                Director      (March
                                (March        2021 - July
                                2021 -        2021)
                                August
                                2022)


                    CF II ACQUIRES LEGACY VIEW THROUGH
                          A FLAWED MERGER PROCESS

           41.   Cantor, Lutnick, and CF&Co effectively controlled the Merger process.

   The Board met just three times before approving the Merger and did not have any

   regularly scheduled meetings. In total, the Board spent just two hours and forty

   minutes reviewing and considering the Merger. Indeed, the Merger was a fait

   accompli before CF II even came into existence.

           42.   Before the IPO, Cantor and Lutnick had discussions with Legacy View

   about a potentially combining Legacy View with Lutnick’s initial SPAC entity, CF

   I. CF I ended discussions with Legacy View in August 2020, when CF I executed a

   transaction agreement with Grosvenor Holdings, L.L.C.


                                                 25
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      43.   On August 31, 2020, the same day CF II went public, a CF II

representative reached out to a Legacy View representative. The companies entered

into a non-disclosure agreement the same day.

      44.   On September 2, 2020, CF&Co gave Legacy View a due diligence

request list. On September 7, 2020, Legacy View began preparing a virtual data

room (the “Data Room”) with materials responsive to CF II’s requested due

diligence. Over the following weeks, the Company conducted due diligence via the

Data Room and in discussions with Legacy View management. As part of this

process, Legacy View provided the Company with a full financial projection model.

      45.   On September 21, 2020, CF II engaged McKinsey & Company

(“McKinsey”) to prepare a report evaluating the smart glass industry, the total

addressable market for such industry (“TAM”), and Legacy View’s competitive

position in such industry and market.

      46.   On September 22, 2020, the CF II Board met for the first time. Lutnick

called the meeting to give the Board—then consisting of Lutnick, Jain, Pion, and

Hochberg—a “status update of the Company’s business combination negotiations.”

Lutnick and CF&Co representatives reviewed background information on Legacy

View, the proposed terms of non-binding letter of intent for a deal between CF II

and Legacy View, the progress of the due diligence CF&Co was conducting on

behalf of the Company, and the fact of McKinsey’s retention. At the conclusion of
                                        26
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the perfunctory forty-seven-minute meeting, the Board unanimously approved the

letter of intent.

        47.   On October 2, 2020, McKinsey provided CF II with a “Smart Glass

Market Scan Final Report” (the “McKinsey Report”). Although the McKinsey

Report was primarily focused on TAM, it highlighted a number of “Headwinds” for

Smart Glass:6




6
    G&E-VIEW-00058859-62.
                                      27
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                               28
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The Proxy did not disclose any of the specific headwinds the McKinsey Report

identified.

          48.   On October 3, 2020, the Board had its second meeting. During the

meeting, Lutnick discussed retaining Goldman Sachs & Co. LLC (“Goldman

Sachs”) to serve as a financial advisor for PIPE investments intended to bring cash

in to the Merger.7 Because Goldman Sachs was Legacy View’s only financial

advisor in connection with the Merger, its role in the PIPE investment created a

conflict of interest.8 Nonetheless, the Board—still comprised of Lutnick, Jain, Pion,




7
    G&E-VIEW-00056617-18.
8
    Id.

                                         29
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and Hochberg—hurriedly and unanimously approved retaining Goldman Sachs as

the financial advisor for the PIPE investment.9 The meeting lasted 11 minutes.10

           49.   During an Audit Committee meeting that same day, CF II retained

CF&Co to serve as co-placement agents for the PIPE Investment.11 CF&Co would

be paid $4.5 million for its PIPE placement engagement.

           50.   In November 2020, CF&Co and Cantor completed due diligence and

presented their “Project Vista Financial Due Diligence” findings (the “DD

Presentation”) to the Board. The DD Presentation included an in-depth analysis of

Legacy View’s existing projections.           The projections included in the DD

Presentation were subsequently lowered by approximately 15% to become the Proxy

Projections:12




9
 Id. On November 30, 2020, CF II entered into an initial PIPE agreement with a number
of subscribers, including the Sponsor, pursuant to which the subscribers agreed to purchase
up to 30,000,000 shares of CF II Class A common stock for $300 million in a private
placement. A second PIPE agreement was approved by the Board during a January 11,
2021 meeting—after the Merger was agreed to. In the second PIPE agreement, CF II
agreed to sell up to 17,777,778 shares of Class A common stock to GIC Private Ltd. for
$11.25 per share. Both PIPEs closed concurrently with the Merger.
10
     Id.
11
     G&E-VIEW-00056615-16.
12
     G&E-VIEW-00058917.
                                            30
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        51.   CF II did not disclose that the Proxy Projections represented a haircut

case from the projections provided to the Board in connection with its negotiation of

the Merger, nor is there any explanation for this reduction provided in either the

Proxy or the 220 Documents. The DD Presentation identified numerous material

issues with Legacy View’s business prospects going forward. As set forth in the DD

Presentation, Legacy View had a negative gross profit that would need to be

mitigated by “large increases in production volume” and “new product offerings

rolling out over the course of 2020-2022”:13




13
     G&E-VIEW-00058913.
                                         31
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        52.   In addition, the DD Presentation explained that the total revenue growth

over the five-year forecast was predicated on (i) “$558M of Dynamic Glass Design-

Win Backlog”; (ii) “$1.7B of additional Dynamic Glass Pipeline as represented by

Management”; and (iii) “New Compute Platform products which have yet to be

widely released.” The DD Presentation informed the Board that “[a]ny large

shortfalls in the conversion of the design-win backlog and/or pipeline as well as the

actual commercialization and market penetration of the new compute products

would likely have a material impact in the Company’s ability to generate positive

EBITDA starting in FY22”:14




14
     G&E-VIEW-00058914.
                                          32
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For additional information, the Board was referred to an additional slide to discuss

the “Design-Win Backlog.”       As detailed in that slide, the entire Design-Win

Backlog—Legacy View’s pipeline—was comprised almost entirely of “$558M of

non-contractual design wins” that Legacy View management only “expect[ed]” to

be converted to revenue.15 No basis for this “expect[ation]” was provided. The

Proxy did not disclose that Legacy View’s pipeline was comprised almost entirely

of “non-contractual” wins that were only “expected”—based on unspecified

factors—to be converted into revenue.

        53.   In addition, the DD Presentation flagged Legacy View’s liability for

replacement costs associated with its “Type II Spacer.” As was publicly disclosed,


15
     G&E-VIEW-00058919.
                                        33
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Legacy View had already “recorded a $24.5M liability” for the product. However,

the DD Presentation informed the Board that CF&Co and Cantor had “identified an

additional $59mm of potential debt-like items at July’20” in addition to the $24.5

million reserved for the Type II Spacer replacement costs and that an additional

investment would be needed to adhere to public reporting and filing requirements.16




None of this material information concerning expected increase in debt related to

warranty accrual issues and the requirements for additional investments related to

financial statement disclosures were disclosed in the Proxy, and would not be

publicly disclosed until after the Merger, as discussed below.




16
     G&E-VIEW-00058916.
                                         34
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        54.   On November 25, 2020, the Company filed an 8-K disclosing that

Defendant Blechman had been appointed to the Board.

        55.   On November 29, 2020, just days after Blechman joined the Board,

Lutnick called a Board meeting to discuss whether to approve the Merger.17 Cantor

and CF&Co made a presentation to the Board (the “Merger Presentation”) that

contained a number of material issues that were not disclosed in the Proxy, including

a list of “Key Transaction Considerations” that made clear that the Proxy Projections

were utterly fantastical:18




        56.   The Merger Presentation also highlighted significant debt issues,

including “accrued interest related to the $250 million Greensill [Capital (UK)




17
     G&E-VIEW-00056822.
18
     G&E-VIEW-00058106.
                                         35
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Limited (“Greensill”)] loan” that would require New View to “pay Greensill $277.3

million” if the post-Merger cash infusion was greater than $650 million. The Proxy

does not disclose the Greensill loan. The Merger Presentation also highlighted that

Legacy View was “negotiating a waiver from its lender for failing to maintain $75

million in equity”;19 this fact, too, was omitted from the Proxy.

        57.   In addition, the Merger Presentation cautioned that the Proxy

Projections assumed Total Capital Expenditures of $723.6 million from 2020 to

2025:20




19
     G&E-VIEW-00058113.
20
     G&E-VIEW-00058112.
                                         36
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The Proxy did not disclose this material fact.      Instead, the Proxy misleading

disclosed that Legacy View only expected to incur total capital expenditures of

“approximately $160.0 million over the next two to four years”—a staggering

$563.6 less than the estimates in the Proxy Projections.

      58.    At the November 29, 2020 meeting, the Board was also given a copy

of the Investor Presentation that would be disseminated to stockholders the day the

Merger was announced and that would subsequently be incorporated into the Proxy.

The Investor Presentation highlighted Legacy View’s Design-Win Backlog pipeline

but again failed to disclose that virtually none of this pipeline was based on actual

contractual agreements.




                                         37
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        59.   Following the one hour and forty-two-minute meeting, the Board

unanimously approved the Merger.21

        60.   The Proxy was disseminated to stockholders on February 16, 2021, and

the stockholder vote was set for March 5, 2021.

        61.   As of February 11, 2021, based on $500 million being held for the

benefit of CF II’s public stockholders in the trust, the estimated redemption value

was approximately $10 per share. Stockholders could have redeemed their shares

regardless of how they voted on the Merger. If they redeemed their shares,

stockholders would still retain their warrants.

        62.   On March 5, 2021, CF II stockholders approved the Merger, with

stockholders redeeming only 25% of shares, or 12.6 million shares. The Merger

closed on March 8, 2021.

                   THE FALSE AND MISLEADING PROXY

        63.   The CF II Defendants, aided and abetted by the Aiding and Abetting

Defendants, published a false and misleading Proxy that omitted material

information that was known by or reasonably available to Defendants.




21
     G&E-VIEW-00056825-29.
                                          38
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      64.    The Board had an affirmative duty to provide materially accurate and

complete information to public stockholders in connection with the redemption

decision and Merger vote. It failed to do so.

      A.     THE PROXY CONTAINS MISSTATEMENTS AND OMISSION
             CONCERNING PROXY PROJECTIONS

      65.    The Proxy disclosed the Proxy Projections:




      66.    The Proxy did not disclose the Key Transaction Considerations set forth

in the Merger Presentation, which laid out material issues undermining the Proxy

Projections, including that: (i) Legacy View’s “entire value is contingent on

successful execution of its business plan”; (ii) Legacy “View has previously

projected significant revenue, which did not materialize”; (iii) a majority of Legacy

View capital expenditures “are purpose-built equipment with limited alternate use

value”; and (iv) Legacy View has $292 million debt “and is operating under a

forbearance/waiver over failing to maintain $75 million in equity value and violation

of a going concern covenant.”

      67.    The Merger Presentation also informed the Board that the Proxy

Projections included total capital expenditures for factory expansion through 2025

of $723.6 million. The Proxy, on the other hand, misleadingly stated that Legacy

View did not estimate that it would incur more than $160 million in capital
                                         39
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expenditures for factory growth costs over the next two to four years. In particular,

the Proxy stated:

      As of September 30, 2020, we have invested $407.5M in capital
      expenditures, primarily in our factory. We expect to incur additional
      factory capital expenditure of up to approximately $160.0 million over
      the next two to four years with respect to facility automation and
      completion of the second production line to support the expected
      growth in demand for our products.

      68.    In determining whether to redeem their shares and/or whether to vote

in favor of the Merger, a reasonable investor would have wanted to know these facts,

which would have shed light on the reliability of the Proxy Projections and the post-

Merger entity’s prospects of success. The failure to disclose this information was a

material omission.

      B.     THE PROXY FAILED TO DISCLOSE THE GREENSILL LOAN

      69.    The Proxy failed to disclose Legacy View’s potential obligation to pay

Greensill up to $277.3 million in principal and accrued interest on a loan if the post-

Merger cash infusion exceeded $650 million. Since the total cash infusion from the

Merger was $815.2 million in gross proceeds, New View was required to repay the

Greensill loan at the close of the Merger for the specific amount of $276.8 million

(based on the closing date). This information was provided to the Board in the

Merger Presentation but was not provided to stockholders.

      70.    In determining whether to redeem their shares and/or whether to vote

in favor of the Merger, a reasonable investor would have wanted to know that the
                                          40
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post-Merger entity was going to have to repay this massive obligation. The failure

to disclose this information was a material omission.

      C.     THE PROXY CONTAINS MATERIAL OMISSIONS CONCERNING THE
             WARRANTY ACCRUAL

      71.    The Proxy stated that Legacy View was subject to a decrease in “Cost

of Revenue” based on a “one-time warranty accrual of $24.5 million.” As set forth

in the DD Presentation, Cantor and CF&Co were well aware that Legacy View

actually faced additional anticipated debt of anticipated $59 million in connection

with Legacy View’s warranty accrual obligations, which represented a potential

substantial increase over the $24.5 million that was stated in the Proxy.

      72.    As discussed below, soon after the Merger closed, New View would be

forced to disclose that it had misstated its potential warranty accrual obligations and

would have to conduct an internal investigation to restate its financials. New View

would eventually disclose that its warranty accruals would require payments of up

to $58 million, essentially in line with the debt assessment in the DD Presentation.

      73.    In determining whether to redeem their shares and/or whether to vote

in favor of the Merger, a reasonable investor would have wanted to know the true

extent of New View’s expected liabilities relating to the warranty accruals. The

failure to disclose this information was a material omission.




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      D.    THE PROXY OMITTED MATERIAL INFORMATION CONCERNING THE
            DESIGN-WIN BACKLOG

      74.   The Proxy failed to disclose that Legacy View’s Design-Win Backlog

pipeline was based almost entirely on “non-contractual design wins” that

management “expected” (based on unspecified factors) to be converted to revenue.

The Investor Presentation, incorporated in the Proxy, told stockholders that Legacy

View had a Design-Win Backlog of $560 million and a Sales Pipeline of $1.7 billion:




      75.   The Investor Presentation did not inform stockholders that the Design-

Win Backlog was comprised almost entirely of “non-contractual design wins” that

management merely “expected’” to convert to revenue—a material fact that was

disclosed to the Board in the DD Presentation.

      76.   In addition, the Proxy included a misleading discussion of the Design-

Win Backlog. The Proxy stated that the “design win is typically secured through a

non-binding memorandum of understanding,” but that stated that “[o]nce a design-
                                        42
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win is secured, the Company enters into separate legally binding agreements with

its customers . . . that constitute the revenue contract.” This statement created the

misleading impression that the Design-Win Backlog was in fact contractual, or it

would not be recognized as revenue.

      77.    The Jehoshaphat Report provided stockholders with specific evidence

that the Investor Presentation contained misleading statements:




      78.    The Jehoshaphat Report referenced exactly what New View would later

be forced to reveal in its Registration Statement on Form S-1 filed with the SEC on

April 7, 2021, just over a month after the Merger closed:




                                         43
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      79.    The Jehoshaphat Report provided further evidence of these material

misstatements via an interview with a former Legacy View sales executive that

explained the backlog pipeline of only letters of intent and no actual contracts:




      80.    New View would continue to disclose meager “design-wins.” On June

15, 2022, New View disclosed only $8.4 million in future performance obligations,

and total of current contract assets of only $11.5 million for 2021.

      E.     THE PROXY MISLED STOCKHOLDERS CONCERNING THE VALUE OF
             POST-MERGER NEW VIEW STOCK

      81.    The Proxy stated that the New View Class A common stock that CF II

common stock would be converted to post-Merger would be deemed to have a value

of $10.00 per share: “Upon the consummation of the Business Combination, all

holders of View Capital Stock, View Warrants, and View Options will receive or

have the right to receive shares of the Combined Entity Class A Common Stock at a

deemed value of $10.00 per share.” This statement was false and misleading based

                                         44
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on the actual post-close value of New View Class A Common Stock , which never

traded above $10 since the close of the Merger.22

         82.    In addition, based on the allegations set forth supra, the value of New

View Class A Common Stock was materially less than $10 per share due to: (i) the

Key Transaction Considerations; (ii) understated capital expenditures; (iii) the

Greensill loan repayment; (iv) understated warranty accrual obligations; and (v) the

materially misstated Design-Win Backlog.

                      THE POST-MERGER REALITY SETS IN

         83.    On June 1, 2021, the Jehoshaphat Report was published.             The

Jehoshaphat Report—which was buttressed by extensive interviews with former

Legacy View executives, industry participants, and outside consultants—detailed

myriad reasons why New View’s “business is permanently non-viable” and that “its

foundational technology will never produce glass profitably.” In particular the

Report stated:

         The technology can produce glass only at a unit cost that is far higher
         than any customer in the market would ever pay. The result is a gross
         margin (even excluding inventory and warranty charges) of negative
         150%-450%. The entire business is based on spending -$4 to make a
         product and sell it for $1.




22
     New View effectuated a 60-for-1 reverse stock split on July 27, 2023.
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The Jehoshaphat Report also flagged that View had burned through $900 million in

free cash flow over the past three years and needed to spend at least “$660 million

within several years to build the capacity needed to hit the rosy revenue estimates”

in the Proxy Projections. The Report, supported by internal audits of New View’s

financials, explained how New View “will run out of cash within about one year.”

      84.      As discussed supra, the Jehoshaphat Report also highlighted the false

and misleading statements in the Investor Presentation about Legacy View’s Design-

Win Backlog that was undermined by statements in subsequent SEC filings

concerning Legacy View’s actual contractual agreements for its pipeline products.

      85.      The Jehoshaphat Report reached a damming conclusion: “VIEW stock

is intrinsically worthless because the company has no path to profitability, the

product is a solution in search of a problem, and the business consumes capital like

a sinkhole.”

      86.      In addition, the Jehoshaphat Report highlighted Cantor and Lutnick’s

conflicts of interest, noting that Cantor was sending out analyst reports to “pump[]

VIEW as a Buy with lunatic growth and profit estimates” while it surreptitiously

“filed a plan to dump its entire ownership stake. While Cantor says you need to get

in, they’re getting out—fast.” The day that the Jehoshaphat Report was published,

New View’s stock was trading at $7.75 per share.



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      87.    On August 17, 2021, New View stock declined even further, from $5.18

per share down to $3.92 per share, when New View was pummeled with a delisting

notice from Nasdaq due to the inadequacy of its previously disclosed warranty

accrual.

      88.    On November 9, 2021, New View disclosed that its Audit Committee

had completed its investigation and determined that it would have to restate its

financial statements for its 2019 and 2020 fiscal years and for the first and second

quarters of its 2021 fiscal year. In addition, New View disclosed that its previously

reported warranty-related accrual of $22 million was false; it would have to restate

its warranty accrual as of March 31, 2021 to an amount in the range of $40 million

to $58 million. Further, New View disclosed that it would have to restate its

warranty-related accruals: (i) to an amount in the range of $46 million to $70 million

as of December 31, 2019, compared to the previously recorded amount of

$26 million; and (ii) to an amount in the range of $38 million to $55 million as of

December 31, 2020, compared to the previously recorded amount of $23 million.

      89.    In connection with this investigation, New View’s CFO Prakash was

forced to step down. New View was also subjected to an SEC investigation for

potential fraud in connection with the warranty accrual restatements.

      90.    Also on November 9, 2021, New View updated its revenue guidance

for 2021 down to a range of $65–$70 million, $5–$10 million less than the 2021
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estimated revenue in the Proxy Projections. New View stock traded at $6.40 per

share on this date.

      91.    Nasdaq initiated a delisting process in February 2022, because New

View had failed to file Quarterly Reports for the second and third quarters of fiscal

year 2021. Nasdaq granted New View a stay of delisting in April 2022, to permit

New View to complete its restatement. On May 10, 2022, New View announced

that it was continuing to work on completing its restatement, which it did complete

by the end of June 2022.

      92.    Also on May 10, 2022, New View disclosed that it now had “substantial

doubt about the Company’s ability to continue as a going concern, as the Company

does not currently have adequate financial resources to fund its forecasted operating

costs and meet its obligations for at least twelve months from the expected issuance

date of the 2021 Annual Report on Form 10-K.” New View’s stock fell from $1.36

on May 10, 2022 to $0.51 on May 11, 2022.

      93.    On May 31, 2022, New View announced full year 2022 revenue

guidance of $100 million to $110 million—materially lower than $216 million

projected revenue for 2022 contained in the Proxy Projections. New View also

reported that it had completed $200 million financing through the sale of convertible

senior notes, which would further dilute stockholder ownership of New View stock.



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      94.    On February 16, 2023, New View disclosed that it had been threatened

with a delisting from Nasdaq because its stock had failed to trade above $1 for 30

consecutive days. New View had 180 days to buoy its stock above $1 per share for

a minimum of 10 consecutive business days. New View stock was trading at $0.67

on this date, and had been trading under $1 per share since December 28, 2022.

      95.    On March 29, 2023, New View announced full year 2022 actual

revenue of $101 million, less than half of the revenue projected for 2022 in the Proxy

Projections. New View’s stock was trading at $0.56 on this date.

      96.    On May 9, 2023, New View announced full year 2023 revenue

guidance of $125 million to $150 million, only 26.5% to 32% of the $470 million

revenue projected for 2023 in the Proxy Projections. New View stock was trading

at $0.26 per share on this date.

      97.    On July 3, 2023, the SEC announced that it settled charges with View

over its restatement of warranty accrual. On the same day, the SEC announced that

it was charging Prakash with financial reporting and accounting fraud. The SEC

asserted that Prakash knew that the warranty liabilities Legacy View disclosed in the

Proxy did not include the costs of installation of the replacement products, even

though Legacy View had decided it would cover all such installation costs. New

View stock was trading at $0.13 per share on this date.



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      98.       On July 26, 2023, New View announced a 60-for-1 reverse stock split

in order to avoid Nasdaq’s delisting threat for its paltry stock price trading.

      99.       Since the Merger, View’s stock price has collapsed by 99.5%, and is

now trading at $2.92 per share, the equivalent of $0.05 per share but for the 60-for-

1 reverse stock split.

 CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

      100. In committing the wrongful acts alleged herein, Defendants have

pursued, or joined in the pursuit of, a common course of conduct and have acted in

concert with and conspired with one another in furtherance of their common plan or

design. In addition to the wrongful conduct alleged herein as giving rise to primary

liability, Defendants further aided and abetted and/or assisted each other in the CF

II Defendants’ breaches of their respective duties.

      101. During all times relevant hereto, Defendants, collectively and

individually, initiated a course of conduct that was designed to and did: (i) deceive

the investing public, including public stockholders of CF II, regarding Legacy

View’s business, operations, and prospects; and (ii) enhance Defendants’ profits,

power, and prestige that they enjoyed as a result of holding favored positions vis-à-

vis CF II and the CF II Defendants. In furtherance of this plan, conspiracy, and

course of conduct, Defendants, collectively and individually, took the actions set

forth herein.

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      102. The purpose and effect of Defendants’ conspiracy, common enterprise,

and/or common course of conduct was, among other things, to disguise Defendants’

violations of law, breaches of fiduciary duty, and unjust enrichment, and to mislead

CF II’s public stockholders concerning Legacy View’s business, operations, and

prospects.

      103. Defendants accomplished their conspiracy, common enterprise, and/or

common course of conduct by causing CF II to release improper and false and

misleading statements. Because the actions described herein occurred under the

authority of the Board, each of Defendants was a direct, necessary, and substantial

participant in the conspiracy, common enterprise, and/or common course of conduct

complained of herein.

      104. Each of Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein.         In taking such actions to

substantially assist the commission of the wrongdoing complained of herein, each

Defendant acted with knowledge of the primary wrongdoing, substantially assisted

in the accomplishment of that wrongdoing, and was aware of his, her, or its overall

contribution to and furtherance of the wrongdoing.

      105. Cantor and CF&Co are controlled by Lutnick. CF&Co and Cantor

were responsible for conducting due diligence on the Merger on behalf of the Board.

CF&Co and Cantor delivered the DD Presentation and the Merger Presentation,
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which, as stated above, contained a number of material facts that were not disclosed

in the Proxy. CF&Co went on to serve a number of other roles, including as a

marketer, advisor, and placement agent, for which it received substantial fees,

including a $17.5 million fee for “marketing” the Merger, which was paid for with

funds held in the trust.

                           CLASS ACTION ALLEGATIONS

      106. Plaintiffs bring this action individually and as a class action pursuant to

Rule 23 of the Rules of the Court of Chancery of the State of Delaware on behalf of

themselves and holders of CF II Class A common stock (the “Class”) who held such

stock as of the redemption deadline and who elected not to redeem all or some of

their stock (except the Defendants herein, and any person, firm, trust, corporation,

or other entity related to, or affiliated with, any of the Defendants) and their

successors-in-interest.

      107. This action is properly maintainable as a class action.

      108. A class action is superior to other available methods of fair and efficient

adjudication of this controversy.

      109. The Class is so numerous that joinder of all members is impracticable.

The number of Class members is believed to be in the thousands, and they are likely

scattered across the United States. Moreover, damages suffered by individual Class



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members may be small, making it overly expensive and burdensome for individual

Class members to pursue redress on their own.

      110. There are questions of law and fact that are common to all Class

members and that predominate over any questions affecting only individuals,

including, without limitation:

             (a)   whether Defendants owed fiduciary duties to Plaintiffs and the
                   Class;

             (b)   whether the Controller Defendants controlled CF II;

             (c)   whether “entire fairness” is the applicable standard of review;

             (d)   which party or parties bears the burden of proof;

             (e)   whether Defendants breached their fiduciary duties to Plaintiffs
                   and the Class;

             (f)   whether the Aiding and Abetting Defendants aided and abetted
                   the Defendants’ breaches of their fiduciary duties;

             (g)   the existence and extent of any injury to the Class or Plaintiffs
                   caused by any breach;

             (h)   the availability and propriety of equitable re-opening of the
                   Redemption Rights period; and

             (i)   the proper measure of the Class’s damages.

      111. Plaintiffs’ claims are typical of the claims of other Class members, and

Plaintiffs have no interests antagonistic or adverse to the interests of other Class

members. Plaintiffs will fairly and adequately protect the interests of the Class.




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       112. Plaintiffs are committed to prosecuting this action and have retained

competent counsel experienced in litigation of this nature.

       113. Defendants have acted in a manner that affects Plaintiffs and all

members of the Class alike, thereby making appropriate injunctive relief and/or

corresponding declaratory relief with respect to the Class as a whole.

       114. The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual

members of the Class, which would establish incompatible standards of conduct for

Defendants; or adjudications with respect to individual members of the Class would,

as a practical matter, be dispositive of the interest of other members or substantially

impair or impede their ability to protect their interests.

                           FIRST CAUSE OF ACTION

                    (Direct Claim for Breach of Fiduciary Duty
                         Against the Director Defendants)

       115. Plaintiffs repeat and reallege each and every allegation above as if set

forth in full herein.

       116. As fiduciaries of CF II, the Director Defendants, in their capacities as

directors of CF II, owed Plaintiffs and the Class the utmost fiduciary duties of care

and loyalty, which subsume an obligation to act in good faith, with candor, and to

make accurate and complete material disclosures to CF II stockholders.


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      117. These duties required the Director Defendants to place the interests of

CF II stockholders above their personal interests and the interests of the Controller

Defendants.

      118. Through the events and actions described herein, the Director

Defendants breached their fiduciary duties to Plaintiffs and the Class by prioritizing

their own personal, financial, and reputational interests above those of CF II’s

stockholders.   The Director Defendants also breached their fiduciary duty by

approving the unfair Merger and by failing to inform stockholders of the material

information necessary to allow them to make an informed redemption decision.

      119. Plaintiffs and the Class were harmed as the Proxy contained false or

misleading disclosures or omitted material information necessary for CF II’s

stockholders to make an informed decision whether to exercise their redemption

rights or invest in the Merger.

      120. The Merger was not fair, and the Director Defendants will be unable to

carry their burden under entire fairness.

      121. As a result, Plaintiffs and the Class were unable to mitigate or avoid the

harm from the Director Defendants’ breaches by exercising their Redemption Rights

prior to the Merger.

      122. The Class chose not to redeem their stock based on false and misleading

information.
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        123. Plaintiffs and the Class suffered damages in an amount to be determined

at trial.

                          SECOND CAUSE OF ACTION

                    (Direct Claim for Breach of Fiduciary Duty
                          Against the Officer Defendants)

        124. Plaintiffs repeat and reallege each and every allegation above as if set

forth in full herein.

        125. As fiduciaries of CF II, the Officer Defendants, in their capacities as

officers of CF II, owed Plaintiffs and the Class the utmost fiduciary duties of care

and loyalty, which subsume an obligation to act in good faith, with candor, and to

make accurate and complete material disclosures to CF II stockholders.

        126. These duties required the Officer Defendants, in their capacities as

officers of CF II, to place the interests of CF II’s stockholders above their personal

interests and the interests of the Director Defendants and/or Sponsor. The Officer

Defendants are not exculpated from the breach of their duty of care for actions taken

in their capacity as an officer (which include all actions set forth herein except their

formal vote on the Merger).

        127. Through the events and actions described herein, the Officer

Defendants breached their fiduciary duties to Plaintiffs and the Class by prioritizing

their own personal, financial, and/or reputational interests, failing to adequately

inform stockholders of material information necessary to allow them to make an
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informed redemption decision, and approving the Merger, which was unfair to CF

II’s Class A stockholders.

        128. The Merger was not fair, and the Officer Defendants will be unable to

carry their burden under entire fairness.

        129. As a result, Plaintiffs and the Class were unable to mitigate or avoid the

harm from the Officer Defendants’ breaches by exercising their Redemption Rights

prior to the Merger.

        130. The Class chose not to redeem their stock based on false and misleading

information.

        131. Plaintiffs and the Class suffered damages in an amount to be determined

at trial.

                           THIRD CAUSE OF ACTION

                    (Direct Claim for Breach of Fiduciary Duty
                        Against the Controller Defendants)

        132. Plaintiffs repeat and reallege each and every allegation above as if set

forth in full herein.

        133. The Controller Defendants were CF II’s controlling stockholders.

Specifically, the Controller Defendants controlled all of the Class B Founder Shares,

elected (and could remove at any time) the other members of the Board, and held

officer roles at CF II.


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        134. The Controller Defendants owed Plaintiffs and the Class fiduciary

duties of care and loyalty, which included an obligation to act in good faith, with

candor, and to provide complete and accurate material disclosures to CF II

stockholders.

        135. At all relevant times, the Controller Defendants had the power to

control, influence, and cause—and actually did control, influence, and cause—the

Company to enter into the Merger.

        136. The Merger was unfair, reflecting an unfair price and unfair process.

        137. Through the events and actions described herein, the Controller

Defendants breached their fiduciary duties to Plaintiffs and the Class by failing to

adequately inform public stockholders of material information necessary to allow

them to make an informed redemption decision and by agreeing to and entering into

the Merger without ensuring that it was entirely fair to Plaintiffs and the Class.

        138. As a result, Plaintiffs and the Class were harmed when, having been

deceived by the false and misleading disclosures and the Board’s approval of the

Merger, they did not exercise their Redemption Rights prior to the Merger.

        139. In addition, the majority of the Class approved the Merger based on

false and misleading information.

        140. Plaintiffs and the Class suffered damages in an amount to be determined

at trial.
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                         FOURTH CAUSE OF ACTION

      (Direct Claim for Aiding and Abetting Breaches of Fiduciary Duties
                 Against the Aiding and Abetting Defendants)

       141. Plaintiffs repeat and reallege each and every allegation above as if set

forth in full herein.

       142. The Aiding and Abetting Defendants were aware that the CF II

Defendants’ fiduciary duties, as set forth above, required that the CF II Defendants

ensure that CF II’s public stockholders’ ability to make an informed redemption

decision not be impaired.

       143. The Aiding and Abetting Defendants knowingly participated in the CF

II Defendants’ breaches of their fiduciary duties (and any exculpated care breaches

by the Director Defendants), including the fiduciary duties of care and loyal, which

included an obligation to act in good faith, with candor, and to provide accurate

material disclosures to stockholders.

       144. The Aiding and Abetting Defendants were responsible for conducting

the due diligence in connection with the Merger process and provided the Director

Defendants with the DD Presentation and the Merger Presentation. As a result, the

Aiding and Abetting Defendants were aware of the material issue with Legacy

View’s business prospects, the shortfalls in its Design-Win Backlog, its potential

debt issues, the key transaction considerations identified in the McKinsey Report,

and View’s projected exponential capital expenditures. Despite being aware of these
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material facts, the Aiding and Abetting Defendants chose to assist the CF II

Defendants in breaching their fiduciary duties by failing to disclose these materials

to CF II’s public stockholders and thereby impairing CF II’s public stockholders

right to make their redemption decision on a fully informed basis.

        145. The Aiding and Abetting Defendants did so because they stood to gain

a substantial monetary benefit, in the form of fees for its services that were paid, in

part, by funds in the trust.

        146. As a result of the Aiding and Abetting Defendants’ aiding and abetting

the CF II Defendants’ breaches of fiduciary duty, Plaintiffs and the Class were

harmed by not exercising their Redemption Rights prior to the Merger.

        147. Plaintiffs and the Class suffered damages in an amount to be determined

at trial.

                               FIFTH CAUSE OF ACTION

                       (Direct Claim for Unjust Enrichment
            Against the Controller Defendants, the Director Defendants,
                     and the Aiding and Abetting Defendants)

        148. Plaintiffs repeat and reallege each and every allegation above as if set

forth in full herein.

        149. As a result of the conduct described above, the Controller Defendants

and the Director Defendants breached their duties to the Class and put their own

interests ahead of those of the Class.

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      150. The Controller Defendants and the Director Defendants were unjustly

enriched by the wrongful conduct detailed above.

      151. The Aiding and Abetting Defendants unjustly enriched themselves by

taking millions of dollars in fees, paid for by CF II’s stockholders, for “marketing”

the Merger, despite knowing the Merger was unfair to the Class.

      152. All unjust profits realized by the Controller Defendants, the Director

Defendants, and the Aiding and Abetting Defendants should be disgorged and

recouped by the Class.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs demand judgment and relief in their favor and in

favor of the Class, and against Defendants, as follows:

      A.     Declaring that this action is properly maintainable as a class action;

      B.     Finding the Director Defendants and Officer Defendants liable for

breaching their fiduciary duties owed to Plaintiffs and the Class;

      C.     Finding the Controller Defendants liable for breaching their fiduciary

duties, in their capacity as CF II’s controlling stockholders, owed to Plaintiffs and

the Class;

      D.     Finding the Aiding and Abetting Defendants liable for aiding and

abetting the CF II Defendants’ breaches of fiduciary duty owed to Plaintiffs and the

Class by the CF II Defendants;

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      E.     Finding that the CF II Defendants and the Aiding and Abetting

Defendants were disloyal fiduciaries that were unjustly enriched;

      F.     Certifying the proposed Class;

      G.     Awarding Plaintiffs and the other members of the Class damages in an

amount to be proven at trial, together with interest thereon;

      H.     Awarding rescission or rescissory damages to Plaintiffs and the Class;

      I.     Ordering disgorgement of any unjust enrichment to the Class;

      J.     Awarding Plaintiffs and the members of the Class pre-judgment and

post-judgment interest, as well as their reasonable attorneys’ and experts’ witness

fees and other costs; and

      K.     Awarding Plaintiffs and the Class such other relief as this Court deems

just and equitable.

Dated: November 13, 2023

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